                              Case 4:22-cr-00066-YGR Document 47 Filed 09/29/22 Page 1 of 7
i AO 257 xRev. 6/78)


          DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

   BY: □ COMPLAINT              □ INFORMATION                 INDICTMENT                        Name of District Court, and/or Judge/Magistrate Location

                                                              SUPERSEDING                         NORTHERN DISTRICT OF CALIFORNIA
            -OFFENSE CHARGED
                                                                                                                 OAKLAND DIVISION
    18 U.S.C. § 2243(b)- Sexual Abuse of a Ward                   I I Petty
    18 U.S.C. § 2244(a)(4) - Abusive Sexual Contact
                                                                  I I Minor          r- DEFENDANT - U.S


                                                                  □
                                                                      Misde
                                                                      meanor           1^ John Russell Bellhouse                  FILED
                                                                      Felony
                                                                                            DISTRICT COURT NUMBER                       SEP 2 9 2022       >-
   PENALTY:      See attachment
                                                                                            4:22-CR-00066-YGR
                                                                                                                                CLERK, U.S. DISTRICT COURT
                                                                                                                              NORTHERN DISTRICT OF CALIFORNIA

                                                                                                                      DEFENDANT

                                PROCEEDING                                                    IS Norm CUSTODY
                                                                                                Has not been arrested, pending outcome this proceeding.
     Name of Complaintant Agency, or Person (& Title, if any)                          1) □ if not detained give date any prior                 .
                                                                                                summons was served on above charges ^
                                          FBI

          person is awaiting trial In another Federal or State Court,                  2) □ Is a Fugitive
     □    give name of court

                                                                                       3) □ Is on Bail or Release from (show District)
                                                                                                                           NDCA
          this person/proceeding is transferred from another district
     □    per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                              IS IN CUSTODY

                                                                                       4) □ On this charge
          this is a reprosecution of
          charges previously dismissed                                                 5) I I On another conviction              1
     □    which were dismissed on motion
                                                                 SHOW                                                             ?      □ Federal □ State
                                                              DOCKET NO.
          of:
                                                                                       6) □ Awaiting trial on other charges
          □ U.S. ATTORNEY             □ DEFENSE
                                                         I                                       If answer to (6) is "Yes", show name of institution

         this prosecution relates to a                                                                                         If "Yes"
     □ pending case involving this same                                                     Has detainer [U
         defendant                                            MAGISTRATE
                                                                CASE NO.
                                                                                            been filed?
                                                                                                           □ No           }    give date
                                                                                                                               filed

                                                                                                                        Month/Day/Year
                                                                                            DATE OF
                                                                                                          »
                                                          }
          prior proceedings or appearance(s)
                                                                                            ARREST
     I I before U.S. Magistrate regarding this
          defendant were recorded under                                                     Or... if Arresting Agency & Warrant were not

                                                                                            DATE TRANSFERRED                           Month/DayA'ear
   Name and Office of Person
   Furnishing Information on this form                STEPHANIE M. HINDS                    TO U.S. CUSTODY
                                                                                                                          I
                                   I U.S. Attorney □ Other U.S. Agency
   Name of Assistant U.S.                                                                   I I This report amends AO 257 previously submitted
   Attorney (if assigned)                       MOLLY K. PRIEDEMAN

                                                         ADDITIONAL INFORMATION OR COMMENTS
     PROCESS:

          □ SUMMONS □ NO PROCESS* □ WARRANT                                    Bail Amount:

          if Summons, complete following:
          I I Arraignment □ Initial Appearance                                 * Where defendant previously apprehended on complaint, no new summons or
                                                                               warrant needed, since Magistrate has scheduled arraignment
          Defendant Address:

                                                                               Date/Time:                                  Before Judge:

           Comments:
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                                  Maximum Penalties


18 U.S.C. § 2243(b)- Sexual Abuse of a Ward (Counts One, Two)


15 years imprisonment
$250,000 fine
Restitution
Maximum Supervised Release Term: Life
Minimum Supervised Release term: 5 years
Mandatory Special Assessment: $5,100



18 U.S.C. § 2244(a)r4)- Abusive Sexual Contact tCounts Three, Four, Five, Six)


2 years imprisonment
$250,000 fine
Restitution
Maximum Supervised Release Term: Life
Minimum Supervised Release term: 5 years
Mandatory Special Assessment: $5,100
Case 4:22-cr-00066-YGR Document 47 Filed 09/29/22 Page 3 of 7



          nitcb States iBtstrict Court
                                  FOR THE
              NORTHERN DISTRICT OF CALIFORNIA


                  VENUE: OAKLAND                               CASE NO. 22-CR-00066-YGR



                    UNITED STATES OF AMERICA,


                                                                        FILED
                     JOHN RUSSELL BELLHOUSE,                                SEP 29 2022
                                                                       CLERK, U.S. DISTRICT COURT
                                                                     NORTHERN DISTRICT OF CALIFORNIA




                             DEFENDANT(S).



  SUPERSEDING INDICTMENT


                   18 U.S.C. § 2243(b)- Sexual Abuse of a Ward
                  18 U.S.C. § 2244(a)(4)- Abusive Sexual Contact




         A true bill. \



                                                          Foreman


         Filed in open s^rt this 29th          day of
         September, 2022             ^



                                           Ball, $ No Process


          HON. DONNA M. RYU, U.S. MAGISTRATE JUDGE
             Case 4:22-cr-00066-YGR Document 47 Filed 09/29/22 Page 4 of 7




 1   STEPHANIE M. HINDS(CABN 154284)                                            filed
     United States Attorney
2                                                                                  SEP29 2(I22
3
                                                                               CLERK, U.S. DISTRICT COURT
                                                                             northern districtofcalifornia
4

 5

6

7

8                                     UNITED STATES DISTRICT COURT

9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                            OAKLAND DIVISION

11   UNITED STATES OF AMERICA,                            CASE NO.4:22-CR-00066-YGR

12           Plaintiff,
                                                          VIOLATION;
13      V.                                                18 U.S.C. § 2243(b)- Sexual Abuse of a Ward
                                                          18 U.S.C. § 2244(a)(4)- Abusive Sexual Contact
14   JOHN RUSSELL BELLHOUSE,

15           Defendant.
                                                          OAKLAND VENUE
16

17

18
                                   SUPERSEDING INDICTMENT
19
     The Grand Jury charges, that at all times relevant to this Superseding Indictment:
20
                                             Introductory Allegations
21
             1.      The Federal Correctional Institution, Dublin ("FCI Dublin") was a federal prison in
22
     Alameda County, California, within the Northern District of California.
23
             2.      The defendant JOHN RUSSELL BELLHOUSE("BELLHOUSE")was employed at
24
     FCI Dublin as a correctional officer.
25
             3.      Victim 1, an individual known to the Grand Jury, was a female inmate at FCI Dublin,
26
     who was serving a prison sentence.
27
             4.      Victim 2, an individual known to the Grand Jury, was a female inmate at FCI Dublin,
28



     SUPERSEDING INDICTMENT                           1
              Case 4:22-cr-00066-YGR Document 47 Filed 09/29/22 Page 5 of 7




 1   who was serving a prison sentence.

2            5.      Victim 3, an individual known to the Grand Jury, was a female inmate at FCl Dublin,

3    who was serving a prison sentence.

4                                                   COUNT ONE
                                               (Sexual Abuse of a Ward)
 5
             6.      Paragraphs 1 through 5 of this Superseding Indictment are re-alleged and incorporated as
6
     if fully set forth here.
7
             7.      On a date between approximately December 2019 and October 2020, in the Northern
8
     District of California, the defendant
9
                                             JOHN RUSSELL BELLHOUSE
10
     while in FCl Dublin, a Federal prison, knowingly engaged in a sexual act with Victim 1, a person who
11
     was in official detention and under the custodial, supervisory, and disciplinary authority of the
12
     defendant, when he caused contact between his penis and Victim 1's mouth, while they were in the
13
     FCl Dublin Prison Safety Warehouse, in violation of 18 U.S.C. § 2243(b).
14
                                                   COUNT TWO
15                                             (Sexual Abuse of a Ward)

16           8.      Paragraphs 1 through 5 of this Superseding Indictment are re-alleged and incorporated as

17   if fully set forth here.

18           9.      On a date between approximately February 2020 and October 2020, in the Northern

19   District of California, the defendant

20                                           JOHN RUSSELL BELLHOUSE


21   while in FCl Dublin, a Federal prison, knowingly engaged in a sexual act with Victim 1, a person who

22   was in official detention and under the custodial, supervisory, and disciplinary authority of the

23   defendant, when he caused contact between his penis and Victim 1's mouth, while they were in the

24   FCl Dublin Prison Safety Office, in violation of 18 U.S.C. § 2243(b).

25   ///

26   ///

27   ///

28



     SUPERSEDING INDICTMENT
              Case 4:22-cr-00066-YGR Document 47 Filed 09/29/22 Page 6 of 7




 1                                               COUNT THREE
                                             (Abusive Sexual Contact)
2
             10.     Paragraphs 1 through 5 of this Superseding Indictment are re-alleged and incorporated as
 3
     if fully set forth here.
4
             11.     Between approximately February 2020 and October 2020 in the Northem District of
 5
     California, the defendant
6
                                         JOHN RUSSELL BELLHOUSE
7
     while in FCI Dublin, a Federal prison, knowingly engaged in sexual contact with Victim 1, a person who
8
     was in official detention and under the custodial, supervisory, and disciplinary authority of the
9
     Defendant, when he touched Victim 1's breast and genitalia while they were in the FCI Dublin Prison
10
     Safety Office, in violation of 18 U.S.C. § 2244(a)(4).
11
                                                  COUNT FOUR
12                                           (Abusive Sexual Contact)

13           12.     Paragraphs 1 through 5 of this Superseding Indictment are re-alleged and incorporated as

14   if fully set forth here.

15           13.     Between approximately October 2020 and December 2020, in the Northem District of

16   California, the defendant

17                                       JOHN RUSSELL BELLHOUSE

18   while in FCI Dublin, a Federal prison, knowingly engaged in sexual contact with Victim 2, a person who

19   was in official detention and under the custodial, supervisory, and disciplinary authority of the

20   Defendant, when he touched Victim 2's buttocks while they were in the FCI Dublin Camp Safety

21   Office, in violation of 18 U.S.C. § 2244(a)(4).

22                                                COUNT FIVE
                                             (Abusive Sexual Contact)
23
             14.     Paragraphs 1 through 5 of this Superseding Indictment are re-alleged and incorporated as
24
     if fully set forth here.
25
             15.     On or about October 22, 2020, in the Northern District of California, the defendant
26
                                         JOHN RUSSELL BELLHOUSE
27
     while in FCI Dublin, a Federal prison, knowingly engaged in sexual contact with Victim 2, a person who
28



     SUPERSEDING INDICTMENT                            3
              Case 4:22-cr-00066-YGR Document 47 Filed 09/29/22 Page 7 of 7




 1   was in official detention and under the custodial, supervisory, and disciplinary authority of the

2    Defendant, when he touched Victim 2's inner thigh while they were in the FCI Dublin Camp Safety

 3   Office, in violation of 18 U.S.C. § 2244(a)(4).

4                                                  COUNT SIX
                                             (Abusive Sexual Contaet)
 5
             16.     Paragraphs 1 through 5 of this Superseding Indictment are re-alleged and ineorporated as
6
     if fully set forth here.
7
             17.     Between approximately May 2020 and December 2020, in the Northern Distriet of
8
     California, the defendant
9
                                         JOHN RUSSELL BELLHOUSE
10
     while in FCI Dublin, a Federal prison, knowingly engaged in sexual contaet with Victim 3, a person who
11
     was in official detention and under the custodial, supervisory, and disciplinary authority ofthe
12
     Defendant, when he touched Vietim 3's inner thigh in the FCI Dublin Camp Safety Office, in violation
13
     of 18 U.S.C. § 2244(a)(4).
14

15
     DATED: September 29, 2022                                    A TRUE BIL
16

17

18                                                                FOREPRRSO

19
     STEPHANIE M. HINDS
20   United States Attorney

21

22
      /s/            'PcutUoK
     ANDREW PAULSON
23   Assistant United States Attorney

24

25

26

27

28



     SUPERSEDING INDICTMENT
